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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA

American Center for Civil Justice,
                                                    Civil No.: 09-233-PLF
      Plaintiff and Counterclaim Defendant
                                                    Re:
      v.
                                                    Declaratory Judgment
Joshua M. Ambush, Esq.,

      Defendant and Counterclaim Plaintiff


                 MOTION TO ENFORCE SETTLEMENT AGREEMENT

TO THE HONORABLE COURT:

      COMES NOW, defendant and counterclaimant Joshua M. Ambush, Esq.

(“Ambush”), through the undersigning counsel, and respectfully states, alleges and

prays as follows:

I. Introduction

    1.     This is a motion for the enforcement of the settlement agreement (the

           “Settlement Agreement”) entered into by the parties with the purpose to settle

           their mutual claims in this case.   See Dkts. 133 and 134; and Exhibit 1,

           Settlement Agreement.

    2.     According to the Settlement Agreement, the parties agreed that they would

           refrain from any litigation against the other arising out of, or related to the

           subject matter of this case, or to the services performed by each other in

           connection with the case of Vega-Franqui, et al., v. Syrian Arab Republic, et

           al., Civil No. 06-734 (RBW) (U.S.D.C. D.C. 2006) (“Vega-Franqui”), or to the

           administrative claims pursued before the U. S. Department of State and
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       related to the Vega-Franqui case. See Exhibit 1, Settlement Agreement, pp.

       2-3, ¶ 6.

3.     As detailed below, plaintiff and counterclaim defendant American Center for

       Civil Justice (“Plaintiff” or the “Center”) knowingly, purposefully and actively

       opposed Ambush’s efforts to collect his attorney fees earned for his legal

       services performed in connection to the Vega-Franqui case and the related

       administrative claims, in the case of Domenech, et al., v. Guzmán, et al., Civil

       No. DAC 2010-3790 (503) before the Court of First Instance of Bayamón,

       Puerto Rico (“Domenech v. Guzmán”). Due to the opposition of the Center,

       the court denied Ambush’s petition for intervention for the purpose of

       collecting his attorney fees.

4.     Michael Engelberg and Eliezer Perr, who are directors, principals or officers

       of the Center, are also parties to the Settlement Agreement. The Center,

       Engelberg and Perr will be referred to as the “Settlement Plaintiffs.”

5.     Furthermore, by and through attorney David Efron and with the publication of

       a defamatory and vitriolic video, the Settlement Plaintiffs had a hand in

       encouraging clients of Ambush to reject his representation of them and to

       contact and retain David Efron in his stead.

6.     In addition, by and through attorney David Efron, who has an attorney and

       client relationship with the Center, the Settlement Plaintiffs also instigated the

       case of Rubén Vivas-Ruiz v. Ambush, Civil No. 12-2046-JAF (U.S.D.C. P.R.),

       a few months after this Settlement Agreement was entered into.

7.     The Settlement Plaintiffs are thus in breach of the Settlement Agreement. For


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           that, Ambush requests a declaratory relief and liquidated damages for each

           violation, as detailed below.

II. Jurisdiction

    1.     On September 18, 2012, the parties to this case filed a “Consent Motion” in

           which they notified the Court that they had reached a Settlement Agreement

           and would dismiss the case upon the Court’s distribution of the money

           deposited with the Court’s registry according to the Settlement Agreement.

           See Dkt. 133.

    2.     On that same date, this Honorable Court entered a “Consent Order” for the

           distribution of the money deposited with the registry of the Court according to

           the Settlement Agreement. See Dkt. 134.

    3.     On October 5, 2012, the parties filed a “Stipulation of Dismissal with

           Prejudice.” See Dkt. 137.

    4.     This Honorable Court never issued a separate order and judgment dismissing

           the case as required by Fed. R. Civ. P. 58(a).

    5.     Accordingly, this Honorable Court still has jurisdiction to order the

           enforcement of the Settlement Agreement. See Bailey v. Potter, 478 F.3d

           409, 412 (D.C. Cir. 2007) (“Although the district court stated on July 9, 2001,

           upon learning of the parties’ settlement agreement, ‘[w]ith that, the case will

           be dismissed,’ no separate order of dismissal was ever filed and entered on

           the docket. Because the district court did not issue the appropriate order

           pursuant to Rule 58(a) dismissing the complaint, it continued to have

           jurisdiction over Bailey’s case.”). See also T Street Development, LLC, v.


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             Dereje and Dereje, 586 F.3d 6, 10-11 (D.C. Cir. 2009).

III. Facts

    A. Chronology of this Case

      1.     This case arises from the dispute between Plaintiff and counter defendant,

             the American Center for Civil Justice (the “Center”),1 Michael Engelberg and

             Eliezer Perr, on one side, and Defendant and counter claimant Ambush, on

             the other side, over fees that were due from the original set of plaintiffs in the

             case of Vega-Franqui.

      2.     In Vega-Franqui, five estates were claiming damages for wrongful death, and

             five injured parties were also claiming for their injuries suffered as a result of a

             terrorist attack at the Lod Airport, in Israel, on May 30, 1972. The Vega-

             Franqui case was filed by Ambush, acting as the legal representative for the

             five estates and the five injured parties, on April 21, 2006. See Vega-Franqui,

             Dkt. 1.   One of those five estates was the Estate of Guzmán (“Estate of

             Guzmán), whose members inherited a claim for the wrongful death of Carmen

             Eneida Guzmán-Rosado (the “Victim”) at the Lod Airport Massacre.

      3.     While the Vega-Franqui case was being hotly litigated, Ambush was

             contacted by representatives of the U.S. Department of State in July 2008.

             The Department of State formally advised Ambush that an effort was

             underway to formalize a treaty between the United States and the


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  Plaintiff used the name “The American Center for Civil Justice” without the designation of “Inc.” at the
end. Plaintiff does not claim to be a corporation, just an “organization.” See Second Amended
Complaint, Dkt. 25, ¶ 2. There are different “Centers,” and among them, more than one named “The
American Center for Civil Justice,” or for which “The American Center for Civil Justice” is part of the name
of the entity. See Counterclaim for Damages and Declaratory Relief, Dkt. 27, ¶¶ 15, 16. See also In re
Engelberg, Misc. No. 11-mc-00148-JG-JO (E.D.N.Y., 2011). Plaintiff has never clarified this issue.

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       government of Libya.     The goal of the treaty was for Libya to renounce

       terrorism and in exchange it would be removed from the list of states that are

       sponsors of terrorism. Ambush was told that, as a prerequisite of the treaty,

       Libya would have to settle all outstanding lawsuits against it at the time of the

       execution of the treaty, including the Vega-Franqui case. The Department of

       State advised Ambush that the Vega-Franqui claimants would only be eligible

       for compensation under the treaty if their claim was still pending before the

       court on the date of the execution of the treaty. Therefore, Ambush had to

       continue litigating the case to keep it alive until the execution of the treaty.

       His legal services were very valuable and significant for all the Vega-Franqui

       plaintiffs.

4.     On August 14, 2008, the governments of Libya and the United States of

       America executed a settlement agreement promising to settle the claims of

       both states’ nationals against each state if Libya established a fund for the

       compensation of the victims (the “Fund”). Once the Fund was established,

       victims of Libyan terrorism who had pending lawsuits against Libya, including

       victims of the Lod Airport Massacre, would be eligible for compensation from

       the Fund, which would be administered by the Department of State.

5.     Ambush was in direct and frequent contact with the Department of State

       throughout 2008 on behalf of his clients, including the members of the Estate

       of Guzmán, to advocate for his clients and make sure they were included in

       the Libyan Settlement while simultaneously litigating the Vega-Franqui case.

6.     On October 31, 2008, then Secretary of State Condoleezza Rice certified that


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        the United States had received the settlement funds from Libya.

 7.     On November 26, 2008, Ambush received correspondence from the

        Department of State notifying him of its procedures to apply for compensation

        for wrongful death claims covered under the August 14, 2008, treaty between

        the United States and Libya.

 8.     Ambush forwarded the Department of State’s letter to his clients. At that time

        no representative of the Estate of Guzmán had been appointed. Accordingly,

        the Department of State required strict proof of the legal authority of the

        Estate’s representative.

 9.     However, by December 2008, Ambush and the Center, Engelberg and Perr

        were embroiled in a dispute as to the management and control of the pending

        claims before the Department of State and Ambush’s compensation. The

        Center, Engelberg and Perr contended that they controlled every aspect of

        the pending claims and could make decisions for the claimants without even

        consulting them. Ambush contended that he had a duty and obligation to the

        claimants and had an attorney client relationship with them.

10.     On December 16, 2008, Ambush met with members of the Estate of Guzmán

        in Puerto Rico. Prior to meeting them, Ambush obtained legal advice from

        attorneys associated with the Maryland State Bar Association’s Attorney

        Ethics Committee and from private counsel familiar with both the laws and

        rules of Maryland and Puerto Rico and obtained confirmation that the Rules of

        Ethics governing attorney conduct did not prohibit him from seeking a retainer

        agreement and fee arrangement with his clients at that stage of the litigation.


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        At that meeting, Lourdes Domenech-Guzmán, niece of the Victim, freely and

        knowingly executed a retainer and fee agreement with Ambush that indicated

        her mother’s heirs would pay him 10% in attorney fees of whatever was

        collected for their claims (“Ambush Retainer”). On that same day, Carlos

        Guzmán-Rosado, a brother of the Victim, freely and knowingly executed the

        Ambush Retainer. This 10% was independent and in addition to the 20%

        specified as pledge to the Center in its contingency agreement with some

        members of the Estate of Guzmán (the “Claimant and Center Agreement”).

11.     On February 6, 2009, the Center filed the present action to gain control and

        management of all the pending claims before the Department of State at the

        time and out of Ambush’s hands, and also as to Ambush’s compensation.

12.     At an initial hearing on this case, this Court indicated that the Center’s

        argument that Ambush had a duty to it in addition to his clients was shocking.

        See Exhibit 2, Transcript of April 21, 2009, hearing, p. 31, lines 6-8. The

        Court also stated that the Center had no standing to complain in the name of

        the Vega-Franqui plaintiffs, and that the claimants were free to agree to pay

        Ambush additional compensation “voluntarily, which we’ll never know unless

        somebody brings them [the Vega-Franqui plaintiffs] into this lawsuit either as

        witnesses or as parties.” See Exhibit 2, Transcript of April 21, 2009, hearing,

        p. 38, lines 17-25, p. 39, lines 1-2.

13.     After indicating that the Center’s case was weak and likely would be

        dismissed for failure to state a claim, the Court allowed the Center to amend

        its complaint for a third time. See Exhibit 2, Transcript of April 21, 2009,


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              hearing, p. 45. The Second Amended Complaint, Dkt. 25, survived because

              the Center added a claim for defamation.

      14.     Thereafter, the Center engaged in vexatious litigation practices that were

              designed to make Ambush spend funds litigating and had nothing to do with

              getting to a practical resolution or to the truth, as the Court had wished.

      15.     The Center filed a Motion to Recuse the Magistrate a week after telling the

              Court that it had no objection to the Magistrate. See Dkt. 45. This motion

              was denied. See Dkts. 61 and 62.

      16.     The Center also filed a Motion to Stay or Remove the Case to U.S. District

              Court for the District of Puerto Rico. See Dkts. 95 and 96. This motion was

              also denied. See Dkt. 106.

      17.     The Court set a Scheduling Order as stipulated to by both parties. See Dkt.

              33. Discovery would take place in two phases. Initially, only written discovery

              was allowed.

      18.     The Honorable Magistrate Judge unequivocally told the Center that if it

              wanted answers to its questions it would have to issue written discovery

              requests and submit them to the Vega-Franqui plaintiff’s attorney, Ambush.

              See Order of January 15, 2010;2 and Transcript of Hearing of January 12,

2
    The order, as entered on the Docket, reads:

          ORDER by Magistrate Judge Deborah A. Robinson on 1/15/10: For the reasons set forth on the
          record on January 11, 2010: (1) Defendants Motion for Protective Order (Document No. 53) is
          denied as moot; and (2) Plaintiffs Motion to Compel Disclosure and Discovery Responses
          (Document No. 47) is granted in part. With regard to the requested contact information [,] it is
          ordered that Defendant, who represents the nine individuals whose contact information is
          addressed in the motion, shall accept service of any subpoena by Plaintiff. (See Scheduling and
          Case Management Order, paragraph 1). All subpoenas pursuant to this order shall be served by
          no later than January 15, 2010, and the documents so subpoenaed shall be returned by no later
          than February 5, 2010. With respect to the fee agreements [,] Defendant shall serve the

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        2010, p. 42, lines 19-25 and p. 43, lines 1-9. Ambush would then have to

        travel to Puerto Rico to present the interrogatories to his clients and obtain

        their answers to those questions. See note 1, supra, Order of January 15,

        2010.

19.     However, the Center was barred by the Scheduling Order from contacting the

        Vega-Franqui plaintiffs directly or from interrogating them without the

        presence of their counsel Ambush. The Scheduling Order only provided for

        service of subpoenas and written discovery on the Vega-Franqui plaintiffs.

        See Dkt. 33 and Transcript of Hearing of January 12, 2010, pp. 30-43.

20.     To circumvent the Scheduling Order restriction on direct communications with

        the Vega-Franqui plaintiffs, and in a blatant effort to sabotage the entire

        course of conduct and payment process agreed to by the parties of this case

        and ordered by the court, the Center, Engelberg and Perr placed a

        provocative and defamatory full page advertisement in the major paper in

        Puerto Rico through Javier López-Pérez, Esq. The Center admitted that it

        placed the advertisement. See Dkt. 77, p. 4 (“Indeed, the only action taken

        by the Center to initiate contact with the Franqui Claimants was the

        placement of a notice in a Puerto Rican newspaper notifying the Claimants of

        the fact that the fee agreement foisted upon them by Ambush was improper

        and suggesting they contact counsel.”). This advertisement succeeded in

        catching the attention of the Vega-Franqui plaintiffs. The Center placed the

        advertisement at the precise moment that it knew Ambush was on his way to

  unredacted acknowledgments by no later than January 15, 2010. In all other respects, Plaintiffs
  Motion to Compel is denied as moot. (lcdar3) (Entered: 01/15/2010).

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        Puerto Rico to serve the subpoenas and to meet with his clients to obtain

        written responses to the Center’s written discovery questions, as directed by

        the Court. See Dkt. 71.

21.     Not only was this blatant tortious interference with contract and defamation,

        but it also turned this case on its head. Some of the Vega-Franqui plaintiffs

        who saw the advertisement were unfazed and continued with Ambush as

        their attorney. They answered the Center’s written discovery requests that

        were delivered by Ambush as directed by the Court. However, at least two

        families of the Vega-Franqui plaintiffs were provoked by the advertisement to

        contact Javier López-Perez, Esq.     Then, at the direction of the Center,

        Engelberg and Perr, they were given affidavits to sign for use in this case,

        that in effect stated that Ambush coerced them into signing retainers for an

        additional compensation, precisely the position that the Center was

        espousing. See Dkt. 64-1. They were also instructed by Javier López-Perez,

        Esq., and the Center not to meet Ambush and not to accept any document

        from him, including the written discovery requests demanded by the Center,

        which motivated Ambush’s trip to Puerto Rico. See Dkt. 71. See also Dkt.

        64-1 and Order of January 15, 2010, supra, at note 1.

22.     As a result of the Center’s blatant disregard for this Court’s orders, its

        campaign to suborn witnesses in this case and its tortious interference, a

        separate case instigated and sponsored by the Center, Engelberg and Perr,

        Berganzo, et al., v Ambush, Civil No. 10-1044 (GAG) (U.S.D.C. P.R.), was




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               filed in the U.S. District Court for the District of Puerto Rico.3

      B. The Estate of Guzmán

        1.     The Estate of Guzmán is the fifth estate mentioned throughout the hearing

               held before this Court on April 21, 2009, and in the documents filed in this

               case.

        2.     Despite the interference of the Center, Engelberg and Perr, Ambush worked

               diligently to establish and prosecute the claim of the Estate of Guzmán before

               the Department of State.            With the cooperation of Lourdes Domenech-

               Guzmán, all the members of the Estate of Guzmán (at that time 38

               individuals), with the advice and supervision of their independent counsel,

               signed powers of attorney documents authorizing Lourdes Domenech-

               Guzmán to act on behalf of the Estate for purpose of the claim before the

               Department of State. The powers given to her were enumerated and limited,

               and expressly authorized her to ratify the engagement of Ambush as the

               lawyer for the Estate and to pay him 10% in attorney’s fees plus expenses.

               Each and every heir, 38 in total at the time, confirmed the retainer agreement

               with Ambush through Powers of Attorney Deeds. In addition, the late Tomás

               Guzmán, alive at the time, with the advice and supervision of his independent

               counsel, also executed a retainer and fee agreement with Ambush.

        3.     As proof of his authority to act on behalf of the Guzman’s, Ambush had a

               retainer from three sub-estate representatives.                   Ambush also had an

               acknowledgment from each and every claimant member of the Estate of


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    The jury issued a judgment for the plaintiffs and Ambush satisfied the judgment in full.

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       Guzmán, signed and notarized after being advised by their independent local

       counsel.

4.     Ambush located, acquired and compiled all of the documents required by the

       Department of State, including multiple court orders for Declarations of Heirs

       for each Guzmán sub-Estate, birth certificates, proof of citizenship, and birth

       and death records.

5.     By February 2010, Ambush had completed all of the work for the Guzmán

       Estate and had submitted it to the Department of State.

6.     Ambush also obtained a certification to the effect that he represented the

       Estate, and certified translations from Spanish to English of numerous

       documents to comply with the Department of State requirements.

7.     In addition, Ambush paid out of pocket expenses of over $43,960.00 to

       prepare the case and all the required documents.

8.     After Ambush satisfied all of the enumerated requirements of the Department

       of State, the Estate’s claim was established. The $10 million award from the

       Fund would have been granted at that point but for the demand of the

       Department of State that two heirs re-execute their power-of-attorneys to

       Lourdes Domenech-Guzmán, and for her to re-execute her release of Libya

       after the execution of those two powers-of-attorney by the heirs had been

       completed.

9.     On November 27, 2009, Lourdes Domenech-Guzmán, as the representative

       for the members of the Estate of Guzmán, confirmed in a sworn statement

       that the members of the Estate of Guzmán had retained Ambush as their


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        lawyer for the claims related to the wrongful death of the Victim, and that they

        had agreed to pay Ambush 10% in attorney fees, in addition to the 20% they

        had agreed to pay to the Center. See Exhibit 3, Sworn Statement by Lourdes

        Domenech-Guzmán, November 27, 2009.

10.     The 10% in fees agreed by Ambush and the members of the Estate of

        Guzmán amounts to $1 million.

11.     During the pendency of this action, and before the Settlement Agreement, the

        other four estates were paid a total compensation of $40 million. Ambush

        handled payments for the estates and made payments to the Center

        according to the agreements reached by the parties and the orders from this

        Court. However, the fifth estate, the Estate of Guzmán had not been paid by

        the time the parties to this action, and also Engelberg and Perr, entered into

        the Settlement Agreement. This delay of more than four years was largely

        due to interference by the Center, Engelberg and Perr with the relationship

        between Ambush and the members of the Estate of Guzmán.

12.     As to the compensation remaining to be paid to the Estate of Guzmán and the

        payment to the Center, this Honorable Court ordered that it be handled in the

        same manner as the payments to the other four estates. See Dkt. 22.

13.     On August 5, 2009, this Honorable Court issued a Scheduling Order stating

        the procedure for discovery. See Dkt. 33.

14.     However, while it was clear that the Center could not contact the members of

        the Estate of Guzmán directly, but only through Ambush, the Center

        circumvented the Scheduling Order and communicated with them by running


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            an advertisement and procuring the publication of an article in a major

            newspaper in Puerto Rico.          See Dkt. 63-1, and the discussion above at

            paragraphs A.20 to A.21.

    15.     As a result of the Center’s placing of the newspaper advertisement and the

            publication of the article, some members of the Estate of Guzmán, including

            Lourdes Domenech-Guzmán, contacted the lawyer hired by the Center,

            Javier López-Pérez, Esq. See Dkt. 64-1.

    16.     Upon information and belief, approximately by January 2010, Lourdes

            Domenech-Guzmán met with Javier López-Pérez, Engelberg, Perr and Neal

            Sher.

    17.     Javier López-Pérez, acting as an agent for the Center, convinced some of the

            members of the Estate of Guzmán, including Lourdes Domenech-Guzmán, to

            terminate Ambush as their attorney and hire him instead. The Center also

            hired Neal M. Sher4 to represent those members of the Estate of Guzmán.

            The Center later hired and added to the representation David Efrón, Esq.,

            who hired José A. Cuevas-Segarra, Esq. At the time, the claim by the Estate

            of Guzman, which was virtually complete after being prepared and

            prosecuted by Ambush, was still pending before the Department of State.

    18.     The lawyers hired by the Center appeared before the Department of State

            claiming to represent all the members of the Estate of Guzmán, even though

            some other members of the Estate wanted Ambush to continue representing


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 Neal M. Sher had been disbarred by the D.C. Court of Appeals on August 28, 2003. See In re Sher,
830 A.2d 1262 (D.C. 2003). Following his disbarment in D.C., he was reciprocally disciplined with a one
year suspension in New York. See In re Sher, 15 A.D.3d 123 (N.Y. App. Div. 2005).

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        them.   This put into question the authority of Ambush to represent the

        members of the Estate and also Lourdes’ authority as their representative.

19.     Also, the Center, Engelberg and Perr, through Neal Sher, instigated a bar

        complaint against Ambush for Lourdes Domenech-Guzmán, falsely claiming

        that he refused to turn the Estate’s documents over to him. Bar counsel

        closed the case without taking any action. Lourdes Domenech-Guzmán also

        filed a false criminal complaint against Ambush alleging that he stalked her.

        An interim restraining order barred Ambush from contacting his clients, all of

        the members of the Estate of Guzmán.        When the complaint was finally

        dismissed, the damage was already done. The Center, Engelberg and Perr

        moved into the vacuum created by their own actions of instigating a fatal

        conflict of interest for Ambush that compelled him to withdraw from

        representing his clients, and proceeded with their campaign of placing

        Ambush in disrepute.

20.     On October 6, 2010, the Department of State notified the members of the

        Estate of Guzmán, through Ambush, that, due to the conflicts as to the legal

        representation of the Estate and the doubts about the authority of Lourdes

        Domenech-Guzmán, the Department would now require an order from a court

        for the appointment of a representative for the Estate. In effect, as a direct

        result of the Center’s interference, all of Ambush’s work to establish a

        representative for the Estate by operation of Powers of Attorney was wiped

        out and the Guzmán Estate’s claim incurred additional delay and expense

        that it would otherwise not have had.


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    21.     On October 14, 2010, Ambush advised the members of the Estate of Guzmán

            in writing that he would not be able to continue as their legal representative

            due to conflicts of interest among the members of the Estate, including

            Lourdes Domenech-Guzmán’s objection to his representation. Ambush did

            not abandon his clients but was compelled by the legal ethics rules to resign

            once the dispute arose. He also advised them of the new requirement by the

            Department of State.

    22.     Once Ambush resigned from representing the Estate, the Guzmán family

            members fought among themselves. Some family members acquiesced to

            the representation of David Efron and José A. Cuevas-Segarra, as

            orchestrated by the Center, and certain others did not.           As a result, the

            Department of State’s demand for a court order establishing an Estate

            Representative evolved into contested litigation, known as Domenech v.

            Guzmán. See Exhibit 4, Translation of Complaint in Domenech v. Guzmán.5

    23.     This controversy regarding the legal representation of the Estate of Guzmán

            delayed the proceedings before the Department of State until almost two

            years later, when the Court of First Instance of Puerto Rico issued an order in

            the case of Domenech v. Guzmán granting Lourdes Domenech-Guzmán

            limited authority to act as administrator of the Estate. This was for the limited

            purpose of signing the documents necessary to move the $10 million in

            compensation from the Fund into that court’s registry. Once the funds were

5
   Some of the exhibits are translations from documents originally in the Spanish language. The
translations were prepared by Targem Translations, others were prepared by Targem and revised by
Nayda I. Pérez-Román, and others were translated by Nayda I. Pérez-Román. See Exhibit 22,
Declaration of Nayda I. Pérez-Román.

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        deposited with the court her power ceased. She never had power to hire

        other attorneys different from Ambush for the entire Estate. She never had

        power to give Engelberg a power of attorney for the entire Estate. In fact, the

        defendants in the case of Domenech v. Guzmán specifically revoked the

        powers of attorney that they had granted to Lourdes Domenech-Guzmán.

        See Exhibit 5 Deeds of Revocation of Power of Attorney. Therefore, neither

        Lourdes Domenech-Guzmán, Engelberg, Perr, the Center or Efrón, had any

        power to act once the funds were deposited with the court. Yet, because

        none of the parties objected, and because the Center controlled the acts of

        Lourdes Domenech-Guzmán, Efron and Cuevas-Segarra, attorneys Efron

        and Cuevas-Segarra continued to make claims on behalf of the Estate as if

        they had the authority to do so.

24.     On March 20, 2012, the Department of State deposited the $10 million

        compensation from the Fund with the court in the case of Domenech v.

        Guzmán.

25.     On March 26, 2012, after the Department of State deposited the $10 million

        with the court, the plaintiffs in the case of Domenech v. Guzmán filed a

        “Motion Requesting Remediation.”         See Exhibit 6, Translation of Motion

        Requesting Remediation. In this motion, the lawyers hired by the Center to

        represent the plaintiffs, requested the court to distribute the compensation

        deposited with the court.    However, the lawyers hired by the Center also

        requested the court to disburse 20% of the funds to the Center. Paragraph

        13 of the motion claims the following:


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           In addition to the distribution expressed herein based on share by line and
           per stirpe, the suit in this case requests that 20% of the amount, or two
           million dollars ($2,000,000.00) be granted as attorney’s fees. This takes
           into consideration that the “American Center for Civil Justice,” has
           contracts signed by parties who are beneficiaries to the consigned fund.
           Said entity, in the last seven (7) years, has dedicated itself in this case to
           lobbying and negotiating with the United States Government, and to
           litigating against the Libyan Government in Washington for the claims of
           Puerto Rican victims present at the Lod airport, Israel, to be included in
           the compensations which the Libyan republic paid. Said organization
           initially committed itself - via the government of Israel – to the task of
           identifying Puerto-Rican victims and/or their heirs, locating them on the
           island, and covering all costs of the claims, such as attorney’s fees, for
           claims filed in Washington as well as in Puerto Rico. It is based on those
           negotiations that the agreed-upon payment is requested in the name of
           the American Center for Civil Justice, Lcdo. David Efron and Lcdo.
           José A. Cuevas Segarra, jointly.

        Exhibit 6, Translation of Motion Requesting Remediation, ¶ 13 (emphasis

        added).

26.     Ambush asserts that the statements quoted above regarding the Center are

        patently false. In addition, as can be seen from the language quoted above,

        in addition to representing the plaintiffs in the case of Domenech v. Guzmán,

        the lawyers hired by the Center were also making a claim for the Center and

        for attorneys Efron and Cuevas-Segarra to get paid. The assertions made on

        behalf of the Center by Efron and Cuevas-Segarra are consistent with the

        Center’s other admitted motives of protecting its reputation and ensuring that

        it is not sued by the claimants. See Exhibit 2, Transcript of April 21, 2009,

        hearing, p. 8, lines 12-16; p. 26, line 8; p. 36, line 19; and p. 37, line 5.

27.     However, the complaint and other filings by the parties fail to mention the

        10% in attorney fees that the members of the Estate of Guzmán agreed to

        pay Ambush for his legal services as the attorney of all the members of the


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        Estate for close to a decade, from 2001 to 2010.         By the time Ambush

        withdrew as the attorney for the Estate of Guzmán due to conflicts of interest

        created by the Center, all the substantive work and documents required by

        the Department of State had already been obtained by Ambush and filed by

        him with the Department.

28.     Counsel for Ambush wrote to counsel for the plaintiffs and the defendants in

        the case of Domenech v. Guzmán demanding that Ambush’s 10% fee be

        recognized and paid, and that the record of the case be corrected to reflect

        the undisputed fact that Ambush represented the Estate of Guzmán and the

        individual Guzmán family members both during the Vega Franqui case and

        before the Department of State.

29.     On August 6, 2012, the Center filed a petition for intervention in the case of

        Domenech v. Guzmán. See Exhibit 7, Translation of Center’s Petition for

        Intervention in Domenech v. Guzmán.

30.     With the consent of the plaintiffs and the defendants, on August 31, 2012, the

        Court of First Instance of Puerto Rico granted the Center’s petition for

        intervention, making it a party to the case of Domenech v. Guzmán. See

        Exhibits 8 and 9, Translation of Minutes of August 31, 2012, and Translation

        of Partial Judgment of August 31, 2012 in the case of Domenech v. Guzmán.

31.     In a stipulation entered into by the plaintiffs, the defendants and the Center,

        they agreed to distribute to the plaintiffs and the defendants 80% of the

        deposited funds.    See Exhibit 10, Translation of Joint Motion Submitting

        Stipulation and Request for Partial Judgment in case of Domenech v.


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        Guzmán. The parties and the Center didn’t even mention Ambush’s claim for

        attorney fees.   See Id. By order of August 31, 2012, the court granted the

        request for the distribution of 80% of the deposited funds. See Exhibits 8 and

        9, Translation of Minutes of August 31, 2012, and Translation of Partial

        Judgment of August 31, 2012 in the case of Domenech v. Guzmán. The

        parties agreed that the remaining 20% would be subject to the competing

        claims by the defendants, the Center and counsel for plaintiffs.              See

        Exhibits8, 9 and 10.

32.     Even when they were fully aware of Ambush’s claim for 10% in attorney fees,

        no one informed the court about it. And even knowing of Ambush’s claim for

        10% in attorney fees, the parties and the Center only requested the court to

        retain 20%, instead of 30%, and distribute the other 80%.

33.     The actions of the Center were designed to deliberately exclude Ambush

        completely and make sure that the Center was paid a full 20%, despite not

        fulfilling its obligations under the Claimant and Center Agreement.

34.     The main obligation of the Center under the Claimant and Center Agreement

        was to pay for the expenses of the case and the attorney fees. See Exhibit 7,

        p. 13-16. However, the $43,960.00 in expenses for the case were paid by

        Ambush, and the Center did not pay Ambush’s attorney fees as agreed to do

        under the Claimant and Center Agreement.          Therefore, the Center is in

        substantial breach of that agreement.

C. Settlement Agreement

 1.     Less than two weeks after the court in Puerto Rico granted the Center’s


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        petition for intervention and approved the joint stipulation by the parties on

        August 31, 2012, approximately by September 12, 2012, the Center,

        Engelberg and Perr agreed to settle this case and entered into the Settlement

        Agreement with Ambush. See Exhibit 1, Settlement Agreement. See also

        Dkts. 132, 133 and 134.

 2.     Paragraph 6 of the Settlement Agreement states:

           Neither Ambush, on the one hand, or the Center, Dr. Engelberg, or Perr,
           on the other hand, nor any person or entity acting with their
           knowledge or under their direction or control, shall encourage,
           sponsor, initiate, or finance, including, but not limited to, the payment of
           attorneys’ fees or costs, any form of claim or litigation against the
           other arising out of or related to the subject matter of the Litigation
           [ACCJ v. Ambush] or the Franqui Litigation [Vega-Franqui v. Syria]
           or the services performed by any of the Parties in connection with
           the Franqui Litigation or the administrative claims of any of the
           plaintiffs in the Franqui Litigation after that Litigation was dismissed. In
           the event of any breach of this provision, the non-breaching Party
           shall be entitled to recover from the breaching Party liquidated
           damages in the amount of $600,000, plus reasonable attorneys’ fees
           and expenses incurred in enforcing the remedy provided for under this
           Paragraph 6. Any action to enforce the remedy provided under this
           Paragraph 6 shall be filed in the United States District Court of the District
           of Columbia (the “Court”) and shall include the request that the case be
           assigned to the judge of that Court who presided over the Litigation. The
           Parties consent to the exercise of jurisdiction over them by the Court in
           any such proceeding filed to enforce the remedy provided under this
           Paragraph 6.

        Exhibit 1, Settlement Agreement, pp. 2-3, ¶ 6.

D. Ambush’s Motion to Intervene in the Case of Domenech v. Guzmán

 1.     Even though Ambush had made his claim of attorney fees directly to his

        clients, the plaintiffs and the defendants in the case of Domenech v. Guzmán,

        who were the claimants in the administrative proceeding before the

        Department of State, none of them made any attempt to pay him and they


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             didn’t even notify the court of his claim. The Center did not notify the court of

             Ambush’s claim either nor did it pay for Ambush’s attorney fees, as it agreed

             in the Claimant and Center Agreement.                 All of them were trying to avoid

             Ambush’s collection attempts. Ambush did not want to sue his former clients.

             However, since no party to the case recognized Ambush’s claim for attorney

             fees and did not even inform the court of his pending claim, Ambush filed a

             petition for intervention in that case on April 26, 2013 (“Ambush’s

             Intervention”).      See Exhibit 11, Translation of Ambush’s Petition for

             Intervention filed on April 26, 2013, in case of Domenech v. Guzmán.6

      2.     On May 16, 2013, the judge ordered the parties to state their positions as to

             Ambush’s Intervention. See Exhibit 12, Translation of Order of May 16, 2013,

             in case of Domenech v. Guzmán.

      3.     On June 18, 2013, the Center filed a “Motion in Compliance With Order,” in

             which it expressly opposed Ambush’s Intervention (“Center’s Opposition to

             Intervention”).      See Exhibit 13, Translation of Center’s Opposition to

             Intervention. In its Opposition, the Center expressly states that Ambush is

             not making any claims against the Center. See Exhibit 12, p. 2, ¶ 5.

             However, the Center expressly opposed Ambush’s Intervention and his


6
  Since the court had not ruled on Ambush’s Intervention and the statute of limitations was running,
Ambush filed an independent claim for collection of attorney fees against all the members of the Estate of
Guzmán. See Ambush v. Domenech, Civil No. D CD2013-2891 (501)(P.R. Court of First Instance,
Bayamón). Later, Ambush moved for consolidation of the cases of Domenech v. Guzmán and Ambush v.
Domenech. In an ironic twist of events for the plaintiffs in the case of Domenech v. Guzmán, the lawyers
hired by the Center, David Efrón and José A. Cuevas-Segarra, continue to claim attorney fees for
themselves in the case of Domenech v. Guzmán, but already stated that they will not represent any of the
plaintiffs of that case in the case of Ambush v. Domenech. In other words, they still represent plaintiffs for
the limited purpose of collecting their attorney fees, but they won’t represent them to defend them from
Ambush’s claims for his attorney fees.

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       attempt to collect his attorney fees for the work performed for the Estate of

       Guzmán in the Vega-Franqui case and in the administrative proceedings

       before the Department of State. See Exhibit 13 p. 12, prayer for relief.

4.     On July 31, 2013, Ambush filed a reply to the Center’s Opposition to

       Intervention. See Exhibit 14, Translation of Ambush’s Reply to the Center’s

       Opposition to Intervention.

5.     Previously, on July 24, 2013, Ambush had filed a motion to disqualify the

       attorneys for plaintiffs in the case of Domenech v. Guzmán, Efron and

       Cuevas-Segarra, due to numerous conflicts of interests among the plaintiffs

       themselves, the plaintiffs and their lawyers, and among those same lawyers

       and the Center, who was supposed to pay the attorney fees for the plaintiffs’

       lawyers. Instead of filing an opposition to the motion to disqualify, on August

       1, 2013, plaintiffs filed a motion to strike the motion to disqualify. On August

       20, 2013, Ambush filed an opposition to plaintiffs’ motion to strike.

6.     Even though the controversy related to the disqualification of plaintiffs’

       lawyers was between Ambush, on one side, and the plaintiffs and their

       lawyers, on the other, on September 4, 2014, the Center, by its own initiative

       and without any order from the court, filed a document titled “Motion in Reply

       to Statements of Attorney Ambush in his ‘Opposition to Motion to Strike.’”

       See Exhibit 15, Translation of Center’s “Motion in Reply to Statements of

       Attorney Ambush in his ‘Opposition to Motion to Strike.’” In this reply, the

       Center argued that Ambush had no rights or claims over the money deposited

       in court. See Id. In the prayer for relief, the Center expressly requested the


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       court to “deny Ambush’s intervention.” See Id, p. 5.

7.     Since the court had not ruled yet on Ambush’s Intervention, the Center’s

       Opposition to Intervention, and Ambush’s Reply to the Center’s Opposition to

       Intervention, on February 28, 2014, the Center took the initiative again of filing

       another motion, the “Motion Requesting Adjudication and Remedies”

       (“Center’s Motion for Adjudication”), requesting that the court hold in its favor.

       See Exhibit 16, Translation of Center’s Motion for Adjudication. As in the

       Center’s Opposition to Intervention, in its Motion for Adjudication the Center

       expressly states that Ambush is not making any claims against the

       Center. See Exhibit 16, p. 6, ¶ 11.d. However, in this Motion the Center

       argues again that Ambush has no right to any of the money deposited with

       the Court. See Exhibit 16

8.     Among other things, the Center argued to the court in Puerto Rico that the

       court had already issued a judgment adjudicating part of the deposited money

       remaining in court to the Center. See Exhibit 16, pp. 1-3. To support its

       argument, it cited the Partial Judgment issued by the court. See Id. As this

       Honorable Court can confirm, the Partial Judgment does not order the

       adjudication of anything to the Center. See Partial Judgment, Exhibit 9, p. 1;

       and Minutes, Exhibit 8, pp. 3-4. What the court did was grant the Center’s

       petition for intervention and grant defendants a term to file an opposition. See

       Id. In addition, the Partial Judgment was obtained by the agreement of the

       Center, the plaintiffs, the defendants and their corresponding lawyers, being

       fully aware of Ambush’s claim for attorney fees and knowingly excluding him.


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        In the process, they purposely hid these facts from the court to procure and

        obtain the Partial Judgment. This makes the Partial Judgment void for lack of

        indispensable party.   The Center did this immediately after executing the

        Settlement Agreement in this case, in which it agreed not to interfere with

        Ambush’s attempts to collect his attorney fees from the Estate of Guzmán.

 9.     When the parties to this case entered into the Settlement Agreement they

        both knew that each of them had claims against the Estate of Guzmán that

        would be pursued if and when the members of the Estate of Guzman got

        paid. The potential for each party to the Settlement Agreement to be able to

        pursue their corresponding actions for collection of their fees from the

        members of the Estate of Guzmán was of vital importance and essential to

        the Settlement Agreement.

10.     The Department of State held the payment to the Estate of Guzmán because

        there were conflicting claims as to the authority of the Estate’s

        representatives and as to who was the attorney for the Estate. After Ambush

        originally represented the Estate, Neal M. Sher, David Efron and José A.

        Cuevas-Segarra, all hired by the Center, claimed to represent them. The

        Department of State wrote to Ambush stating that payment would be withheld

        until a court order was obtained that indicated who was authorized to act on

        behalf of the Estate. The Settlement Agreement was specifically drafted in a

        way to prevent each party from interfering with the collection efforts of the

        other. See the discussion above at paragraph B.20.

11.     If the Center had abided by the Settlement Agreement, it would have notified


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        the court in Domenech v Guzmán that it did not oppose Ambush’s

        Intervention or simply remained silent. The amount due to Ambush by the

        members of the Estate of Guzmán was an issue to be litigated between

        Ambush, the plaintiffs and the defendants, and to be decided by the court.

        The Center had no standing or right to oppose Ambush’s Intervention. The

        fact is that the Center was prohibited by the Settlement Agreement to oppose

        Ambush’s Intervention. See Exhibit 1, Settlement Agreement, pp. 2-3, ¶ 6.

        However, it is obvious from its actions that the intent of the Center all along

        was to interfere with Ambush’s collection efforts.

12.     Furthermore, since the Center knew that Ambush had a claim for attorney

        fees of 10% and it had a claim for 20%, the Center should have brought that

        to the attention of the court. The Center, jointly with the other parties, should

        have requested the court to set aside 30% of the deposited funds subject to

        the competing claims of the parties, including Ambush, to be determined later

        by the court. Had the Center assumed this position, it would have been in

        compliance with the Settlement Agreement.

13.     Instead, the Center manipulated the information it had in order to increase the

        chances of getting 20% in fees from the Estate of Guzmán while making sure

        Ambush had no chance to get paid.

14.     On May 21, 2014, the court in the case of Domenech v. Guzmán, issued a

        resolution denying Ambush’s Petition for Intervention and his motion for

        consolidation, based primarily on the arguments and objections of the Center.

        This resolution was notified on May 23, 2014. Therefore, the Center’s actions


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        effectively interfered with, and blocked Ambush’s efforts to collect his attorney

        fees for the legal services he offered the Estate of Guzmán in relation to the

        Vega-Franqui case and the procedure before the Department of State.

        Nonetheless, Ambush will appeal the resolution.

E. The case of Vivas-Ruiz v. Ambush

 1.     In addition, a few months after the parties to this case entered into the

        Settlement Agreement, the Center, Engelberg and Perr instigated the filing of

        the case of Vivas-Ruiz v. Ambush, Civil No. 12-2046-JAF (U.S.D.C. P.R.).

 2.     The plaintiff in that case, Rubén Vivas-Ruiz, was injured at the Lod Airport

        Massacre and is one of the original Vega-Franqui plaintiffs.

 3.     As discussed above, in 2009 the Center hired a Puerto Rico attorney, Javier

        López-Pérez, Esq., to publish a notice in a newspaper to the Vega-Franqui

        plaintiffs, stating that they had been defrauded and urging them to contact

        him immediately. Provoked by the López-Pérez’s advertisement, certain of

        Ambush’s clients met with attorneys hired by the Center along with

        representatives of the Center, and later filed a lawsuit against Ambush

        captioned Estate of Berganzo, et al., v. Ambush, Civil No. 10-1044-GAG–

        MEL (U.S.D.C. P.R.). Although Noemí Rodrigez-Robles, Vivas-Ruiz’s wife,

        was a plaintiff in that action, Vivas-Ruiz expressly stated that he was not part

        of the Berganzo claim, and remained a client of Ambush. See Exhibit 17,

        Deposition of Noemí Rodríguez-Robles, February 1st, 2011, p. 9, lines 21-25.

 4.     When López-Pérez withdrew his appearance from the Berganzo case,

        Engelberg admits that he found a new attorney, David Efron, for plaintiffs in


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       that matter. See Exhibit 18, Deposition Excerpt of Michael Engelberg, p. 55,

       lines 3-8, and p. 57, lines 2-15. The Center did this as a way of “protecting

       [its] role or protecting [its] interests.” See id, p. 56, lines 17-21.

5.     The Center also retained attorney David Efron. The Center admits that it has

       an ongoing attorney and client relationship with David Efron. See Exhibit 21,

       American Center for Civil Justice’s Sworn Responses to Requests for

       Production of Documents, filed in Berganzo v. Ambush, Civil No. 10-1044-

       GAG–MEL (D.P.R.), p. 2 (“The Center has an existing attorney client

       relationship with attorneys Javier López-Pérez, Neal Sher and David Efron,

       and their respective law practices, employees and colleagues with respect to

       matters other than those related to the civil action styled as The Estate of

       Angel Berganzo Colon v. Ambush…”).

6.     On or about September 24, 2010, once Efron was located and retained by the

       Center, it appears that all the Berganzo plaintiffs and Vivas-Ruiz met with

       Efron in his office, and signed a retainer to “engage[ ] the professional

       services of and give our authorization to the firm LAW OFFICES DAVID

       EFRON, PC ("EFRON") to represent us in a possible cause of action against

       Joshua Ambush, and any other party responsible for the monies that said

       individual improperly collected from us.” See Exhibit 19, Retainer Agreement

       of David Efron, September 24, 2010.

7.     However, Vivas-Ruiz later disclaimed any intent to sue Ambush. In February

       2011, Vivas-Ruiz attended Noemi Rodriguez-Robles’ deposition in the

       Berganzo case. Ambush allowed this on Efron’s representation that Vivas-


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        Ruiz did not intend to bring a claim against Ambush.           See Exhibit 17,

        Deposition of Noemí Rodríguez-Robles, February 1st, 2011, p. 9, lines 18-25,

        and p. 10, lines 1-5. Throughout all this, Vivas-Ruiz still retained Ambush as

        his attorney for the prosecution of his main claim and for a supplemental

        claim before the United States Department of Justice Foreign Claims

        Settlement Commission.

 8.     Vivas-Ruiz prevailed in his main claim, but not on his supplemental claim. He

        collected his compensation and paid Ambush his attorney fees as agreed.

 9.     Later on, Vivas-Ruiz filed a lawsuit against Ambush on December 26, 2012,

        after Ambush had completed all of the work on both of his claims before the

        Department of Justice. Vivas-Ruiz seeks repayment of all attorneys’ fees he

        had paid to Ambush. He is not seeking the return of any money from the

        Center nor is the Center a defendant in that suit. Efron represents Vivas-Ruiz

        in that action.

F. The Center’s Continued Extra Judicial Conduct Encouraging Litigation
   Against Ambush by Victims of the Lod Airport Massacre

 1.     The Center, through Efron, is also attempting to interfere with Ambush’s

        attorney and client relationship with the victims of the Lod Airport Massacre

        through similar defamatory advertising as the 2009 El Nuevo Día

        advertisement. On or about May 30, 2013, months after the settlement in this

        case, Efron appeared on an internet web “program,” the “Insider Exclusive

        Investigative TV series” (hereinafter “Web Program”) which is actually in




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           essence an attorney advertising infomercial.7 The subject of the web program

           was “AIRPORT TERROR - The Lod Airport Massacre – Remembrance.”

    2.     The text of the website advertising the Web Program explained that Efron

           “represented several victims who were victimized twice - first, when they each

           lost their respective fathers in the gruesome, terrorist act at Lod Airport and

           second, by their former lawyer whom swindled them out of the settlement

           monies they should have received for the massacre of their fathers.”          The

           website and the Web Program expressly named Ambush as that lawyer.

           Noemí Rodríguez-Robles, one of the plaintiffs in the Berganzo case instigated

           by the Center and Vivas-Ruiz’s wife, appeared in the Web Program alongside

           plaintiff Efraín Berganzo and Efron.

    3.     In the Web Program, Efron once again parroted the Center’s allegations to

           the effect that: (1) Ambush had already been paid by the Center for his legal

           work; (2) any attempt to collect further monies from the Vega-Franqui

           plaintiffs had been illegal; and (3) payment of legal fees to the Center was

           legitimate. The Center had repeatedly argued all three of these positions

           before this Court, in the El Nuevo Día advertisement, in the Domenech v.

           Guzman case, and in the Berganzo case. Specifically, Efron stated:

              And [Ambush] persuaded them and by misleading them, by lying to them,
              and by withholding information […] to sign a contract where he would get
              an additional ten percent fee of everything he collected on ten million
              dollar estates for the death of each Puerto Rican and U.S. Citizen. We’re
              talking a million dollars per estate, and he did this to a number of people in
              Puerto Rico. He misled them by withholding information, by not telling
              them that even if they didn’t sign that agreement, they would still get the

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   The web program can be found at the website for the Law Offices of David Efron:
http://davidefronlaw.com/areas-of-expertise-law-firm-puerto-rico.asp .

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              money, by not telling them that the only thing left to do in the case was to
              voluntarily dismiss it because it was worthless, […] and by not telling them
              that he had already been paid by an organization [the American Center for
              Civil Justice] that the victims were already paying 20% for, including their
              legal fees.

      Exhibit 20, Transcript of Web Program, p. 16, lines 12-21, p. 7, lines 1-11. .

    4.     Notably, Efron misstated several things, including that Ambush had been fully

           paid by the Center, which was not found by the jury or the First Circuit in the

           Berganzo case. The text of the website praised Efron’s original legal victory

           over Ambush, expressly listed all of the victim-decedents of the Lod Airport

           Massacre, and then provided Efron’s contact information. See Exhibit 20,

           Transcript of Web Program, pp. 16-18.

    5.     Like the 2009 advertisement in El Nuevo Día, there can be no doubt that the

           intent of Efron’s appearance on the Web Program was to encourage further

           claims or litigation against Ambush by other of the Vega-Franqui plaintiffs,

           with he as the attorney representing them. Given Efron’s ongoing attorney

           client relationship with the Center, the Center at least had to have known

           about the Web Program, if not authorized it outright, as they had previously

           done before.

IV. Declaration of Material Breach of Settlement Agreement

    1.     “An agreement to settle a legal dispute is a contract. Each party agrees to

           extinguish those legal rights it sought to enforce through litigation in exchange

           for those rights secured by the contract.” Village of Kaktovik v. Watt, 689

           F.2d 222, 230 (D.C. Cir. 1982).

    2.     “The enforceability of settlement agreements is governed by familiar


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       principles of contract law. […] Upon breach by one party, the other party may

       obtain damages or specific performance as appropriate.” Id.

3.     “To prevail on a claim of breach of contract, a party must establish (1) a valid

       contract between the parties; (2) an obligation or duty arising out of the

       contract; (3) a breach of that duty; and (4) damages caused by breach.”

       Tsintolas Realty Co. v. Mendez, 984 A.2d 181, 187 (D.C. 2009).

4.     “The District of Columbia applies the objective theory of contracts, meaning

       that ‘the language of the agreement as it is written governs the obligations of

       the parties unless that language is unclear or there is fraud, duress, or mutual

       mistake.’” Kriesch v. Vilsack, 931 F. Supp. 2d 238, 253 (D.D.C. 2013).

5.     “A breach is material only if it relates to a matter of vital importance or if it

       goes to the essence [of the contract] and frustrates substantially the purpose

       for which the contract was agreed to by the injured party. […] When the facts

       are undisputed[,] the determination of whether there has been material non-

       compliance with the terms of a contract necessarily reduces to a question of

       law.”   Kriesch v. Vilsack, 931 F. Supp. 2d at 253 (internal citations and

       quotation marks omitted).

6.     “In determining whether a material breach has occurred, the Court must

       consider: the extent to which [the] plaintiff[s] will be deprived of the benefit

       which [they] reasonably expected under the contract; the extent to which the

       plaintiff[s] can be adequately compensated for the part of that benefit of which

       [they] will be deprived; the extent to which the defendant will suffer forfeiture;

       the likelihood that the defendant will cure his failure, taking account of all the


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       circumstances including any reasonable assurances; and the extent to which

       the behavior of the defendant comports with standards of good faith and fair

       dealing.” The Cuneo Law Grp., P.C. v. Joseph, 669 F. Supp. 2d 99, 109

       (D.D.C. 2009) aff'd sub nom. Joseph v. Cuneo Law Grp., P.C., 428 F. App'x 6

       (D.C. Cir. 2011).

7.     “A party's material breach of a settlement agreement generally excuses the

       other party's obligation to perform its end of the bargain under the

       agreement.” The Cuneo Law Grp., P.C. v. Joseph, 669 F. Supp. 2d at 125.

8.     With the Settlement Agreement, the Center, Engelberg, Perr and Ambush

       agreed and entered into a contract, by which they would put an end to their

       mutual claims in this case. See Exhibit 1, Settlement Agreement. By the time

       the parties entered into the Agreement, the Center and its principals

       Engelberg and Perr, were fully aware of Ambush’s 10% claim for attorney

       fees against the members of the Estate of Guzmán, and of all the

       proceedings in the case of Domenech v. Guzmán. They specifically referred

       to the Estate of Guzmán in these proceedings as the “fifth estate.” However,

       they controlled, aided, abetted, directed, encouraged and manipulated

       plaintiffs, defendants, and their respective counsel, in the case of Domenech

       v. Guzmán, to hide from the court the claim being made by Ambush, with the

       purpose of excluding him from collecting.

9.     As soon as the court in Domenech v. Guzmán accepted the Center’s petition

       for intervention in the case, the Center, Engelberg and Perr agreed to the

       Settlement Agreement in this case. This was a coordinated and deliberate


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        effort to exclude Ambush from the distribution of the funds that was being

        requested from the court in Domenech v. Guzmán, while maintaining the

        illusion of settling this case in good faith.

10.     As part of the Settlement Agreement, the Center, Engelberg and Perr agreed

        not to “encourage, sponsor, initiate, or finance […] any form of claim or

        litigation against [Ambush] arising out of or related to the subject matter

        of [this case] or [Vega-Franqui v. Syria] or the services performed by

        any of the Parties in connection with the Franqui Litigation or the

        administrative claims of any of the plaintiffs in the Franqui Litigation

        after that Litigation was dismissed.” Exhibit 1, Settlement Agreement, pp. 2-3,

        ¶ 6.

11.     In the case of Domenech v. Guzmán, the Center actively opposed Ambush’s

        efforts to get paid for the legal services that Ambush offered to the members

        of the Estate of Guzmán in the case of Vega-Franqui v. Syria, and the

        subsequent administrative procedure at the Department of State.

12.     In Domenech v. Guzmán, Ambush made a claim for his attorney fees for the

        legal services he provided. Based mainly on the opposition by the Center

        and its arguments, the court denied Ambush’s Petition for Intervention. This

        constitutes a loss of $1 million in attorney fees to Ambush and a material

        breach of the Settlement Agreement by the Center, Engelberg and Perr.

13.     Likewise, the Center and its principals Engelberg and Perr, were also fully

        aware of Ambush’s representation of Vivas-Ruiz, and instigated him to file a

        complaint against Ambush.


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14.     In the case of Vivas-Ruiz v Ambush, a former client of Ambush who had

        already been paid for his claim set forth in the Vega-Franqui case is seeking

        cancellation of his agreement with Ambush and a refund of the attorney fees

        he already paid to Ambush in the underlying Vega-Franqui case. The case

        was filed in December 2012, some months after the Settlement Agreement

        was executed between the parties. The attorney representing Vivas-Ruiz is

        David Efron, who was originally hired by the Center to represent Vivas-Ruiz,

        his wife, Noemi Rodríguez-Robles, and some of the Guzmán claimants. As

        stated by the Center, Efron has had an ongoing attorney and client

        relationship with the Center.    See Exhibit 21, American Center for Civil

        Justice’s Sworn Responses to Requests for Production of Documents, filed in

        Berganzo v. Ambush, Civil No. 10-1044-GAG–MEL (D. P.R.), p. 2.

15.     Finally, the Center and its principals Engelberg and Perr, through their

        attorney and agent Efron, continue to interfere with Ambush’s clients and

        collections of attorney fees with the publication of the Web Program.

16.     Instigating and encouraging litigation against Ambush by his former clients in

        the case of Vega-Franqui, directly or through the Web Program, constitutes a

        material breach of the Settlement Agreement by Plaintiff, the Center, and also

        by Engelberg and Perr.

17.     The amount of damages for the breach of the Settlement Agreement by the

        Center was already determined by the parties in Paragraph 6 as $600,000 for

        any breach. See Exhibit 1, Settlement Agreement, pp. 2-3, ¶ 6.

18.     Accordingly, Ambush requests from the Honorable Court that it issue an order


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           declaring that the Plaintiff in this case, and also Engelberg and Perr, have

           incurred in three different instances of material breach of the Settlement

           Agreement, and Ambush is no longer limited and restricted by it.

V. Payment of Liquidated Damages

    1.     “District of Columbia ‘jurisprudence has been tolerant of liquidated damages

           clauses unless they are demonstrated unreasonable.’ S. Brooke Purll, Inc.,

           850 A.2d at 1138. Thus, under District of Columbia law, contractual clauses

           providing for liquidated damages in the event of a contractual breach are

           unenforceable only when the remedy provided is deemed a penalty.” The

           Cuneo Law Grp., P.C. v. Joseph, 669 F. Supp. 2d at 113-14.

    2.     “[So] long as a liquidated sum bears a reasonable relation to the damages

           foreseeable at the time of contracting the clause is enforceable.” Id at 114.

    3.     “Further, if the liquidated damages clause was ‘the product of fair arm’s length

           bargaining, particularly between sophisticated parties, ... [greater] latitude [is]

           afforded the contracting parties to argue as they wish on the remedies for a

           breach.’” Id.

    4.     In the Settlement Agreement, Plaintiff and Ambush agreed that, “[i]n the

           event of any breach of [paragraph 6], the non-breaching Party shall be

           entitled to recover from the breaching Party liquidated damages in the

           amount of $600,000, plus reasonable attorneys’ fees and expenses

           incurred in enforcing the remedy provided for under this Paragraph 6.”

           Exhibit 1, Settlement Agreement, pp. 2-3, ¶ 6.

    5.     As stated above, Plaintiff, Engelberg and Perr breached the Settlement


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        Agreement by expressly and actively opposing in the case of Domenech v.

        Guzmán, Ambush’s efforts to collect his attorney fees for the legal services he

        provided to the members of the Estate of Guzmán in the Vega-Franqui case

        and the proceedings before the Department of State.

 6.     Plaintiff, Engelberg and Perr also breached the Settlement Agreement by

        instigating other claims against Ambush in the case of Vivas-Ruiz v. Ambush,

        as described above.

 7.     Finally, Plaintiff, Engelberg and Perr breached the Settlement Agreement by

        instigating a encouraging former clients of Ambush to file claims against him

        for cancellation of his retainer agreement and recoupment of attorney fees.

 8.     As agreed to by Ambush and the Center in the Settlement Agreement,

        Plaintiff, Engelberg and Perr are liable to Ambush for $600,000 in liquidated

        damages for each breach described above, plus reasonable attorney fees

        and expenses incurred in this process. See Exhibit 1, Settlement Agreement,

        pp. 2-3, ¶ 6.

 9.     The amount that Ambush will not be able to collect in attorney fees in the

        case of Domenech v. Guzmán due to the Center’s material breach of the

        Settlement Agreement is $1 million, which is 67% more than the amount

        agreed by the parties as liquidated damages.      Ambush has also spent in

        attorney fees to make his claim in the case of Domenech v. Guzmán and

        defend from the filings by the Center.

10.     The potential loss in the case of Vivas-Ruiz, is $300,000 for legal fees plus

        $500,000 for other damages, for a total of $800,000. The potential loss also


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               includes the attorney fees and expenses incurred for the defense of the case.,

               which is still pending.

       11.     Ambush estimates the damages caused by the Web Program at $1 million

               due to lost clients and the potential claims by former clients. The loss to his

               reputation is incalculable.

       12.     Accordingly, Ambush requests from the Honorable Court that it order Plaintiff,

               Engelberg and Perr to pay Ambush $600,000 in liquidated damages plus

               reasonable attorney fees and expenses for each of the material breaches of

               the Settlement Agreement, as described above, for a total of $1.8 million.

VI. Attorney Fees

        1.     In the Settlement Agreement, Ambush and the Center expressly agreed that,

               in case of any breach, the breaching party would be liable to the non-

               breaching party for “reasonable attorneys’ fees and expenses incurred in

               enforcing the remedy provided” in Paragraph 6 of the Agreement. Exhibit 1,

               Settlement Agreement, pp. 2-3, ¶ 6.

        2.     Accordingly, Ambush respectfully requests from the Honorable Court that it

               order Plaintiff, Engelberg and Perr to pay Ambush the reasonable attorney

               fees and expenses incurred by him in enforcing the provisions of the

               Settlement Agreement.

VII.     Conclusion

        1.     With the purpose of ending all the litigation related to this case, the Center,

               Engelberg, Perr and Ambush entered into a Settlement Agreement.

               According to the Settlement Agreement, one party would not interfere with the


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       other party’s attempts to collect the money they understood were each owed

       for their own services provided or performed in relation to the Vega-Franqui

       case and the proceedings before the Department of State. The purpose and

       essence of the Settlement Agreement was for Ambush and the Center to

       pursue their own claims without any interference from the other party.

2.     As stated in this Motion, the Center, Engelberg and Perr have materially

       breached their obligations and duties under the Settlement Agreement and,

       even though they expressly state and admit that Ambush is not making any

       claims against them, they are expressly and actively interfering with and

       opposing Ambush’s attempts to collect his attorney fees.           They are also

       instigating additional litigation against Ambush for the cancellation of his

       retainer agreements with other clients from the original plaintiffs in the case of

       Vega-Franqui v. Syria. Finally, the Center, Engelberg and Perr, through their

       agent and attorney Efron, are instigating and encouraging additional litigation

       against Ambush through the Web Program.

3.     The Center, Engelberg and Perr have expressly, blatantly and materially

       breached the Settlement Agreement, its purpose and its intent, in three

       different instances.

4.     Accordingly, this Honorable Court should declare the Center, Engelberg and

       Perr to be in material breach of the Settlement Agreement, release Ambush

       from its limitations and restrictions, and order the Center, Engelberg and Perr

       to pay Ambush $1.8 million as liquidated damages, plus reasonable

       attorneys’ fees and expenses incurred for the enforcement of the Agreement.


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       WHEREFORE, Ambush respectfully requests that this Honorable Court grant the

remedies requested here and order the following:

     1.     Declare Plaintiff, the Center, Engelberg and Perr in material breach of the

            Settlement Agreement and release Ambush from the limitations and

            restrictions imposed by it;

     2.     Order Plaintiff, the Center, Engelberg and Perr to pay Ambush $1.8 million in

            liquidated damages, as agreed to in the Settlement Agreement; and

     3.     Order Plaintiff, the Center, Engelberg and Perr to pay Ambush reasonable

            attorneys’ fees and expenses incurred to enforce the provisions of the

            Settlement Agreement, as agreed.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, today June 12, 2014.

                                                /s/ Ángel Sosa
                                                Ángel Sosa
                                                DC Bar No. 1,000,094
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                                                Tel.: (787) 751-8999
                                                Fax: (787) 763-7760


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this date, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system, which will notify all parties registered through their
attorneys of record. I also sent a copy by certified mail to Michael Engelberg, 75 Woodmere
Blvd., Woodmere, NY 11598; and to Eliezer Perr, 1646 41st Street, Brooklyn, NY 11218.

       In San Juan, Puerto Rico, today June 12, 2014.

                                                s/ Ángel Sosa
                                                Ángel Sosa
                                                DC Bar No. 1,000,094
                                                E-mail: asosa@tcmrslaw.com


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